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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


    IN RE BANCO BRADESCO S.A.                         Civil Case No. 1:16-cv-04155 (GHW)
    SECURITIES LITIGATION
                                                      ECF CASE




       NOTICE OF LEAD PLAINTIFF’S UNOPPOSED MOTION FOR AN ORDER
    PRELIMINARILY APPROVING PROPOSED CLASS ACTION SETTLEMENT AND
     AUTHORIZING DISSEMINATION OF NOTICE TO THE SETTLEMENT CLASS

        PLEASE TAKE NOTICE that upon the Stipulation and Agreement of Settlement dated

July 1, 2019 (the “Stipulation”) submitted herewith; the Parties’ agreed-upon proposed Order

Preliminarily Approving Settlement and Providing for Notice and its exhibits; the accompanying

memorandum of law; and all other papers and proceedings herein, Lead Plaintiff Public

Employees’ Retirement System of Mississippi hereby moves this Court, under Rule 23 of the

Federal Rules of Civil Procedure, for entry of an order that will, inter alia: (i) preliminarily approve

the proposed Settlement of the Action; (ii) provisionally certify the Settlement Class for purposes

of effectuating the Settlement; (iii) direct that notice of the Settlement be provided to Settlement

Class Members in the forms and manner proposed by Lead Plaintiff; (iv) authorize the retention

of Epiq Class Action & Claims Solutions, Inc. as the Claims Administrator; and (v) schedule a

date and time for the Settlement Fairness Hearing to consider final approval of the Settlement and

related matters. 1 Pursuant to the terms of the Stipulation, this motion is unopposed by the

Defendants.




1
       All capitalized terms used herein that are not otherwise defined herein have the meanings
ascribed to them in the Stipulation.
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Dated: July 1, 2019                     KESSLER TOPAZ MELTZER
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on July 1, 2019, I electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system. Notice of this filing will be sent to counsel of record by operation of

the Court’s electronic filing system.



                                                                /s/ Andrew L. Zivitz
                                                                Andrew L. Zivitz
